Case 2:23-cv-09454-AYS                Document 15           Filed 03/05/24        Page 1 of 1 PageID #: 86




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------------- x
Liliana Carolina Yanes, individually and on behalf of all                       Case No. 23-cv-09454-JMA-AYS
others similarly situated,
                                                                                NOTICE OF APPEARANCE
                                  Plaintiffs,

                     -against-

Nilkhant 2 Car Wash, LLC d/b/a Bethpage Car Wash,
Rakeshbhai Patel, Darpan Patel and Ronak Patel,

                                   Defendants.
----------------------------------------------------------------------------- x

TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:

        The undersigned attorneys are admitted to practice in this Court and appear in this case as
the attorneys of record for the defendants, and demand service of all papers in this action.

Dated: Massapequa, New York
       March 5, 2024
                                                     _____________________
                                                     IRA LEVINE, ESQ.
                                                     543 Broadway
                                                     Attorney for Defendants
                                                     Massapequa, New York 11758
                                                     Tel: 516-541-1072
                                                     Email: ilevinelaw@optonline.net
